     Case 1:22-cv-10672-WGY   Document 27    Filed 11/08/22   Page 1 of 8

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1                     UNITED STATES DISTRICT COURT

2                      DISTRICT OF MASSACHUSETTS (Boston)

3                                           No. 1:21-cv-11901-WGY
                                                1:22-cv-10672-WGY
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5    JUDITH PRINZO, on behalf of herself and all other
     employees similarly situated,
6               Plaintiff

7    vs.

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9    HANNAFORD BROTHERS COMPANY, LLC,
                Defendant
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13                         For Hearing Before:
                         Judge William G. Young
14

15                            Status Conference

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                          United States District Court
17                        District of Massachusetts (Boston)
                          One Courthouse Way
18                        Boston, Massachusetts 02210
                          Wednesday, November 2, 2022
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22                REPORTER: RICHARD H. ROMANOW, RPR
                       Official Court Reporter
23                   United States District Court
           One Courthouse Way, Room 5510, Boston, MA 02210
24                     bulldog@richromanow.com

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     Case 1:22-cv-10672-WGY   Document 27   Filed 11/08/22   Page 2 of 8

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1                         A P P E A R A N C E S

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     Case 1:22-cv-10672-WGY   Document 27   Filed 11/08/22   Page 3 of 8

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1            P R O C E E D I N G S

2            (Begins, 3:00 p.m.)

3            THE COURT:       Call the case please.

4            THE CLERK:       Now hearing Civil Matters 21-11901 and

5     22-10672 Prinzo versus Hannaford Brothers Company.

6            THE COURT:       And would counsel identify themselves.

7            MS. CHURCHILL:       Good afternoon, your Honor, Steve

8     Churchill representing the plaintiff.

9            MR. PARDO:       Good afternoon, your Honor,

10    Christopher Pardo for Hannaford.

11           THE COURT:       Well thank you for attending on this

12    session of the court and coming in personally.

13           When we have a hearing in this -- in a case, I was

14    under a misapprehension.        I don't think -- I think I

15    properly understand the law and I don't think I've

16    injured any party, but the misapprehension under which I

17    labored was that there was a single case that the

18    plaintiffs, Prinzo and others, have brought against

19    Hannaford, and we had a discussion about claim splitting

20    and I ruled as I ruled.        But my docket has two cases,

21    one under the Wage Act and another under the Fair Labor

22    Standards Act.

23           I simply wanted to make clear and have you correct

24    me if I'm missing something, that in that procedural

25    posture, with two separate cases, this claim splitting
     Case 1:22-cv-10672-WGY   Document 27   Filed 11/08/22   Page 4 of 8

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1     issue just does not exist, jurisdiction is appropriate

2     in this court on different grounds and, um, I'm prepared

3     to go forward, treat the two cases separately.                  Since I

4     was under a misapprehension, I wanted to say that and

5     stand corrected.

6              So Mr. Churchill, I've got it right, don't I?

7              MS. CHURCHILL:     And that's why we filed the

8     separate case as we did.

9              THE COURT:     And it stands.      All right.       And with

10    two separate cases my obligation is to adjudicate them.

11             MR. PARDO:     Your Honor, I respectfully don't

12    agree.    The purpose of our briefing was to say that the

13    nature of the cases are such that they should have been

14    brought together in a single proceeding, and by bringing

15    the second case separately, that that actually is

16    inappropriate claim splitting, and there's a variety of

17    case law that we included in our brief.                And I'm going

18    to the two-case issue, which is different from the

19    singular-case issue.

20             THE COURT:     And I thank you for coming in and

21    correcting me at least as to your position.                 I will

22    reflect on what you have just said.             But for the moment

23    I have no problem with the procedural position of these

24    two cases.

25             I wish there was a more informal way to
     Case 1:22-cv-10672-WGY   Document 27   Filed 11/08/22   Page 5 of 8

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1     communicate with you, but unlike law clerks back in

2     Galway, I can't simply say to you "Well what are we

3     doing with two cases?          Oh yes, now he's got the two

4     cases.    Well that's easier to administer or the like."

5     So thank you for coming in.           Should I take no further

6     action, your -- at least on this claim-splitting issue,

7     the rights of all parties are saved.              And thank you for

8     restating and correcting my understanding.                But for the

9     moment we'll leave everything as it is.                Thank you for

10    coming in.

11             MR. PARDO:     Thank you, your Honor.

12             MR. CHURCHILL:        Thank you, your Honor.

13             THE COURT:     All right.     We'll recess.

14             MR. PARDO:     Your Honor, if I may for one moment?

15             THE COURT:     Yes.

16             MR. PARDO:     Given I think Attorney Churchill and I

17    had a different understanding of what was going on, I

18    heard what you said, um, and obviously what you say

19    matters the most.       If upon discussion with Attorney

20    Churchill we think we need to, um, or at least I think

21    on behalf of my client, can we make some kind of

22    supplemental submission to the Court, would that be

23    permissible?

24             THE COURT:     It would be.     Absolutely it would be.

25    I remember what I said at the other hearing about the
     Case 1:22-cv-10672-WGY   Document 27   Filed 11/08/22   Page 6 of 8

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1     difficulty of administering a case in which I had -- and

2     now the opinion's out there, this Owens vs. The City of

3     Medford, where it was both a Wage Act and FLSA case, I

4     wasn't thinking of it candidly in the manner that you're

5     talking about.      While I don't invite it, having been

6     under a misapprehension, you have every right to make a

7     supplemental submission, um, within two weeks time, is

8     that fair?

9            MR. PARDO:       Absolutely, your Honor.

10           THE COURT:       And I may take action, I may not.             But

11    you're at least fairly on notice of the Court's

12    thinking, that was what concerned me the most, I wasn't

13    clear and I like to be clear and now I'm at least clear.

14    Being clear doesn't make me right, but I'm clear and we

15    can go from there.

16           Thank you both.

17           (Pause.)

18           THE COURT:       Oh, Ms. Gaudet raises quite properly,

19    when are we going to be ready to deal with the issue of

20    certifying a class in either or both of these cases?

21           MS. CHURCHILL:       In the first case, your Honor,

22    it's fully briefed as of September so we're ready --

23    well we're not ready today, but to prepare for it.                   But

24    we're otherwise ready for hearing on that motion.

25           THE COURT:       The Clerk will set it.         Yeah, all
     Case 1:22-cv-10672-WGY   Document 27   Filed 11/08/22   Page 7 of 8

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1     right.    Thank you.     We'll recess.

2              (Ends, 3:15 p.m.)

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     Case 1:22-cv-10672-WGY   Document 27   Filed 11/08/22   Page 8 of 8

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1                  C E R T I F I C A T E

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4             I, RICHARD H. ROMANOW, OFFICIAL COURT REPORTER,

5     do hereby certify that the foregoing record is a true

6     and accurate transcription of my stenographic notes

7     before Judge William G. Young, on Wednesday, November 2,

8     2022, to the best of my skill and ability.

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11    /s/ Richard H. Romanow 11-8-22
      __________________________
12    RICHARD H. ROMANOW   Date

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